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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION :
                                                               :
                           Plaintiff,                          :
                                                               :   Case No. 1:10-CV-457
         vs.                                                   :   (GLS/CFH)
                                                               :
McGINN, SMITH & CO., INC.,                                     :
McGINN, SMITH ADVISORS, LLC                                    :
McGINN, SMITH CAPITAL HOLDINGS CORP., :
FIRST ADVISORY INCOME NOTES, LLC,                              :
FIRST EXCELSIOR INCOME NOTES, LLC,                             :
FIRST INDEPENDENT INCOME NOTES, LLC, :
THIRD ALBANY INCOME NOTES, LLC,                                :
TIMOTHY M. McGINN, AND                                         :
DAVID L. SMITH, GEOFFREY R. SMITH,                             :
Individually and as Trustee of the David L. and                :
Lynn A. Smith Irrevocable Trust U/A 8/04/04,                   :
LAUREN T. SMITH, and NANCY McGINN,                             :
                                                               :
                           Defendants,                         :
                                                               :
LYNN A. SMITH and                                              :
NANCY McGINN,                                                  :
                                                               :
                           Relief Defendants. and              :
                                                               :
GEOFFREY R. SMITH, Trustee of the                              :
David L. and Lynn A. Smith Irrevocable                         :
Trust U/A 8/04/04,                                             :
                                                               :
                           Intervenor.                         :
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            ORDER APPROVING FIFTEENTH INTERIM APPLICATION OF
          PHILLIPS LYTLE LLP AND THE RECEIVER FOR ALLOWANCE OF
              COMPENSATION AND REIMBURSEMENT OF EXPENSES

                 Upon the Fifteenth Interim Application of Phillips Lytle LLP (“Phillips Lytle”)
and the Receiver (“Receiver”) for Allowance of Compensation and Reimbursement of Expenses
dated July 8, 2020 (“Application”) for an order approving the allowance of compensation and
reimbursement of expenses; and notice of the Application having been given to the Securities
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and Exchange Commission and all parties who have filed a Notice of Appearance in this action
and all creditors of the McGinn Smith Entities and other parties in interest via the Receiver’s
website, which notice is deemed good and sufficient notice; and the Court having determined
that sufficient cause exists; it is therefore
                 ORDERED, that the Application is approved such that (i) compensation for legal
and Receiver services rendered between January 1, 2020 and May 31, 2020 (“Fifteenth Interim
Period”) in the amount of $30,340.72 is allowed as an interim allowance, and (ii) reimbursement
of expenses advanced by Phillips Lytle during the Fifteenth Interim Period in the amount of
$111.37 is allowed as an interim disbursement payment; and it is further
                 ORDERED, that the Receiver is authorized and directed to pay the amounts as
allowed pursuant to this Order.
         August 21
Dated: _______________, 2020
                                                ____________________________________
                                                HON. CHRISTIAN F. HUMMEL




Doc #8021858.1




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